                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

RENEE COWIE and STEPHEN COWIE,                    )
                                                  )
        Plaintiffs,                               )
v.                                                )           No. 1:07-cv-63
                                                  )           Edgar / Carter
STATE FARM FIRE & CASUALTY                        )
COMPANY,                                          )
                                                  )
        Defendant.                                )


                                              ORDER

        Defendant State Farm Fire and Casualty Company (“State Farm”) has moved for a

default judgment on its declaratory judgment claim pursuant to Federal Rule of Civil Procedure

55 and for a dismissal of the Plaintiff’s breach of contract claim for failure to prosecute pursuant

to Federal Rule of Civil Procedure 41(b). [Court Doc. No. 119]. This court ordered Plaintiffs

Renee Cowie and Stephen Cowie to show cause why their action against State Farm should be

dismissed. See [Court Doc. No. 121]. Plaintiffs have failed to respond to the court’s order in

any way.

        Therefore, in accordance with Federal Rule of Civil Procedure 41(b), the court hereby

DISMISSES the Plaintiffs’ claim against State Farm for lack of prosecution.

        The CLERK is DIRECTED to serve a copy of this order to the Plaintiffs at the




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following address:

              Renee and Stephen Cowie
              2044 Kingswood Drive
              Flint, MI 48507

       SO ORDERED.

       ENTER this the 9th day of May, 2008.



                                   /s/ R. Allan Edgar
                                 R. ALLAN EDGAR
                           UNITED STATES DISTRICT JUDGE




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